                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                v.                           )
                                             )        3:12 CR 00159
CHAD EDWARD WARRICK,                         )        Judge Marvin E. Aspen
ANGELA CAMARDA, and                          )
CYNTHIA FAYE HEINZ,                          )
                                             )
                Defendants.                  )

                                            ORDER

         As previously arranged with parties, Defendants Warrick, Camarda, and Heinz shall

appear to submit their pleas on Wednesday, September 3, 2014 at 10:00 a.m.



                                                      SO ORDERED:



                                                      Marvin E. Aspen
                                                      United States District Judge




Dated:          Chicago, Illinois
                August 26, 2014




  Case 3:12-cr-00159          Document 94        Filed 08/26/14    Page 1 of 1 PageID #: 135
